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AO 91(Rev.0> ) CriminalCompl
                           aint

                                UNITED STATES D ISTRICT COURT
                                                              forthe
                                              Southern DistrictofFlorida

              United SlatesofAmerica
                          V.
                                                                       CaseNo. ZO-MJ-Y &AOV
                 RenzoW illiam Al
                                egre'


                      Lklkndantlzl

                                              CRIM INAL CO M PLAINT
       1.thecomplainantin thiscu evslatetha!thefollowing istrue lo thebestofmy knowledgeand belief.
Onoraboutthcdatets)of                  septemwflq.2920
                                               -                       inthecountyof               Mql?lpld                 -       -
                                                                                                                                        in the
    southem        Districtof           Flori
                                            ua     - .-   ,   the(kfendanqs)violated:
          CodeSeetion                                                    OgenseDescri
                                                                                    plion
18U.S.C.j2252(a)(4)(B)                    Pcssession ofChild Pom ography




        Thiscriminalcûmplaintisbmsed on lhesefacts:
See attached amdavit.




       d Ccntinuedontheattachedsheet.


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                                                                                               PrintednameJn#hjle

       Atlested toby theapplicantin accordancewiththe requirementsofFed.R.Crim.P.4.lby FaceTime.

Date: .-septçm bç.v.                                                                                                 --'
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City and Mate:          w- -   qpftLatlder4y#,Flori4a                     Aliçi
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                               AFFIDAVIT IN SUPPO RT O F
                       AN A PPLICATIO N FO R A SEARC H W ARRANT

          1,Vanessa Juede,having been firstduly sworn,do hereby depose and state asfollows:

                       INTRO DUCTIO N AND AG ENT BAC KG RO UND
                 Iam aSpecialAgentwith United States Immigration and CustomsEnforcement

   (ICE),Homeland Security Investigations,FortLauderdale,Florida. Ihave been employed asa
   SpecialAgentsince October2002. Iam responsible forinvestigationsofoffensesunderTitles8,

   18,19 and 2lofthe United StatesCode. Aspartofmy daily dutiesas a HSIagent,linvestigate

   crim inal violations relating to child exploitation and child pornography including violations

   pertaining to the illegalproduction,distribution,receiptand possession ofchild pornography,in

   violationofl8U.S.C.592252(*,2252A,2251(a)and(e),and2422(b).Ihavereceivedtraining
   in the areaofchild pomography and child exploitation.

          2.     I have participated in investigalions involving pedophiles, preferential child

   molesters,and personsw ho collectand/ordistributechild pornography.along with the im portation

   and distributionofm aterials relating to thesexualexploitation ofchildren. Ihave also conducted
   severalchild pornography and child exploitation investigations.which has involved reviewing

   severalform sofmedia,including com puters.

          3.     lmake thisA m davitin supportofa criminalcomplaintcharging Renzo W illiam

   Alegre(UAIaEGREC')withpossessionofchildpornography,inviolationofTitlel8,UnitedStates
   Code,Section2252(a)(4)(B).
          4.     The information contained inthisAfGdavitisbased on m y personalknowledge,as
   wellas inform ation relayed to me by other 1aw enforcem entagentsand ofscers involved in this

   investigation.Ihave notincluded in thisAm daviteach and every factknownto me orto otherIaw
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   enforcem entom ctrssurrounding thisinvestigation.Rather,Ihave included onlythose factsthatI

   believe are necessary to establish probablecause.

                                          PROBABL: CAUSE
                   In and around July 2020, while working in an undercover capacity, law

   enforcem ent officers signed onto the internet through a com puter located in the HSI Fort

   Lauderdale Om ce. Law enfoxement utilized BitTorrent, an enhanced version of a publicly

   available peer-to-peerflle sharing program ,to identify individuals sharing im ages and/orvideos

   depictingthesexualexploitationofchildren.

           6.      Duringthe investigation,law enforcementidentiseda computeron BitTorrentthat
   was associated w ith a torrent filel believed to contain files depicting child pom ography.

   Specifically,thecomputerinquestionutilizedIPaddress66.229.49.11CTargetIPAddress'')to
   access BitTorrtnt and shart Gles with hash values of im agts and videos of suspected child

   pornography.

                   0n July 3,2020,Iaw enforcementcom pleted the download ofseveralvideo and

   imagefilesdepictingchildpornographythatthecomputerattheTargetIPAddressmadeavailable.
           8.      Based on a review ofthe downloaded Gles,Iaw enforcem entdeterm ined thatthere

   wertnumerousslesdepictingchildrenundertheageofeighteen(13)engagedinsexualactsand/or
   the lasciviousexhibition oftheirgenitals,aIlofwhich wasconsistentwith child pornography. A

   sampleofthree(3)ofthefilesdownloadedartdescribedasfollows:
                     A)         Filename:!!!New!!!(Pthc)LPVD 4yococked


    IA ttTorrent''istypicallyasmallGlethatdescribesthefileorfilestobeshared.Itcontainstheinformationneededto
   accomplish adownload oflhe designated fileorfiles.Tàisinformation includesthe namels)ofthe file orfiles
   referencedintheRTorrent.''
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                          Description:V ideo depicts an adultmale placing a prepubescentfemale
                          on top ofhispenis.facing the child toward thecam era.

                   B)     Filename:(Pthc)DadCum InM e
                          Descrintion: Video depicts an adult male vaginally penetrating a
                          prepubescentfem alew ith hispenis.

                   C)     FileName:1lYOGI- Impy
                          Description: Video depicts an adult male vaginally penetrating a
                          prepubescentfem alew ith hispenis,

          9.     Law enforcement conducted a scarch of a publicly available database and

   determ ined that Comcast registered the Target IP Address. Law enforcem ent subsequently

   subm itted an adm inistrative subpoena to Com cast.Resultsfrom the subpoena showed that,on the

   date thatlaw enforcem entdownloaded the child pornography,Comcasthad assigned the Target

   IP Addressto an accountbelonging to a service addressof4235N orth University Drive,Sunrise,

   Florida33351($%heResidence'').
          l0.    On September l6.2020, law enforcement executed a search Farrant of the
   residence,signed bythe Honorable United StatesM agistrateJudgeAlicia 0.Valle.Thesearch of

   thertsidencerevealedone(l)ibuypowerdesktopbearingserialnumber3873-78E8-CAA3-8890-
   639,located inALEGRE'Sbedroom .A prelim inary fox nsicexam ination ofA LEGRE'Scom puter

   revealed approximately one-hundred (100) videos.A preliminary forensic examination of
   ALEGRE'Scellulartelephonealsorevealedtwo-hundred(200)videoscontaining suspectedchild
   pornography. Som eofthe videos are described asfollow s:

                  A)      FileName: ttcpnihadecabellorubiolamiendo.m#''
                         Description: Video depicts a prepubescentfem ale perform ing oralsex
                         on an adultm ale'spenis.

                  B)      File Name: ''cp nisas de calcetas café de rombos mamando a
                         hombre.mp4''
                         Description: Video depictsa prepubescentfem ale perform ing oralsex
                         on an adultm ale'spenis.
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                   C)     FileName: ttAN55.mp4''
                          Descriotion: Video depictsa prepubescentfemale being vaginally
                          penetrated by an adultmale'spenis.

          11.    A LEGRE waived his M iranda rights and agreed to speak with law enforcem ent.

   ALEGREadvisedthathefirstencounteredchildpomographyapproximatelyone(1)yearagoand
   he hasbeen using the u'
                         rorrentprogram on hisdesktop computer,described in paragraph l0.
   ALEG RE stated thathiscom puterispassword protected and he istheonly user.

          12.    ALEGRE advisedthathe isttaddicted''to child pornography and hewatchesvideos

   ofchild pomography atleastthree (3)timesaweek.ALEGRE transferredthevideoscontaining
   child pom ography to a sub-folderlabeled,i'Important,''in theçlDocum ents''folderon hisdesktop

   com puter.

                 ALEG RE stated thathegttsaroused and m asturbatesevery tim ehewatchesone of

   thevideos.Hefurtherstated thatthelasttimehewatched a videocontaining child pornography

   wasthe evening priorto the execution ofthesearch warrant.A LEGRE also advised,çtIwish Ican
   tellyou thatwillneverdo thatagain,butIthink istoo Iate-''




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                                       CO NCLUSIO N

          14.   Bnqed upon the information provided above.I respectfully subm itthat probable

   cause existsto believe thatRenzo W illiam Alegre did violate Title I8,United Code,Section

   2252(a)(4)(B).


   FURTHER YO UR AFFIANT SAYETH NOT.


                                               Respectfully subm itted,



                                               Vanessa u e,SpecialAlent
                                               Homeland Security Investlgations(HSI)



   Attestedto bytheapplicantinaccordancewith the
   requirementsofFed.R.Crim .P.4.1 by FaceTimc,
   on this 16th day of Septem k r 2020, at Fort
   Lauderdale,Florida.


                             4ZA
   A L IA 0 .VALLE
   UNITED STATES M AG ISTRATE JU DG E
